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 9                      UNITED STATES DISTRICT COURT FOR
10                     THE CENTRAL DISTRICT OF CALIFORNIA

11                                              Case No.: 2:22-cv-03059
       FAISAL MOLEDINA,
12     Individually and On Behalf of All
                                                CLASS ACTION
       Others Similarly Situated,
13
                                                COMPLAINT FOR DAMAGES AND
14                   Plaintiff,                 INJUNCTIVE RELIEF FOR:
15
                                 v.                    Violations of California Penal Code
16                                                     § 632.7
       MARRIOTT
17
       INTERNATIONAL, INC., a
18     Delaware corporation,                    JURY TRIAL DEMANDED0
19
                      Defendant.
20
21
22
23
                                      INTRODUCTION
24
         1. The California State Legislature passed the California Invasion of Privacy Act
25
             (“CIPA”) in 1967 to protect the right of privacy of the people of California,
26
             replacing prior laws which permitted the recording of telephone conversations
27
             with the consent of one party to the conversation. California Penal Code §
28

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            632.7 was added to CIPA in 1992 due to specific privacy concerns over the
 1
            increased use of cellular and cordless telephones. Section 632.7 prohibited
 2
            intentionally recording all communications involving cellular and cordless
 3
            telephones, not just confidential communications.
 4
         2. The plaintiff Faisal Moledina (“Plaintiff”) individually and on behalf of all
 5
            others similarly situated California residents and consumers (“Class
 6
            Members”), brings this action for damages and injunctive relief against
 7
            defendant Marriott International, Inc. (“Marriott” or “Defendant”), for
 8
            Defendant’s unauthorized and illegal recordings of conversations with
 9
            Plaintiff without any notification or warning to Plaintiff or Class Members,
10
            causing Plaintiff and Class Members damages and invasion of their privacy.
11
         3. Plaintiff makes these allegations on information and belief, with the exception
12
            of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
13
            Plaintiff alleges on personal knowledge.
14
         4. Any violations by Defendant were knowing, willful, and intentional, and
15
            Defendant did not maintain procedures reasonably adapted to avoid any such
16
            violation.
17
         5. Unless otherwise indicated, the use of Defendant’s names in this Complaint
18
            includes all agents, employees, officers, members, directors, heirs, successors,
19
            assigns, principals, trustees, sureties, subrogees, representatives, and insurers
20
            of the named Defendant.
21
                                JURISDICTION AND VENUE
22
         6. The Court has jurisdiction pursuant to the Class Action Fairness Act, 28
23
             U.S.C. § 1332(d) because (i) there is minimal diversity; (ii) Defendant is not
24
             a government entity against whom the District Court may be foreclosed from
25
             ordering relief; (iii) there are more than one hundred (100) people in the
26
             putative class; and (iv) the amount in controversy exceeds $5,000,000,
27
             exclusive of interest and costs.
28

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           7. Defendant is a Delaware corporation with its principal place of business in
 1
              Maryland.
 2
           8. Defendant has a registered agent for service of process located in California.
 3
           9. Upon information and belief Defendant, at all material times hereto, made
 4
              unlawful and illegal recordings of conversations with customers, including
 5
              Plaintiff.
 6
           10. Venue is proper in this Court because, (i) Plaintiff resides within this County;
 7
              (ii) a substantial part of the events giving rise to the Plaintiff’s claims against
 8
              Defendant occurred within this county (Plaintiff’s cordless telephone call was
 9
              audio recorded by Defendant while Plaintiff was in this judicial district); and
10
              (iii) Defendant conducts substantial business within the County of Los
11
              Angeles, California; and (iv) Defendant’s contacts with this forum are
12
              sufficient to subject it to personal jurisdiction within this judicial district.
13
                                               PARTIES
14
           11. Marriott is, and at all relevant times was, a corporation with its principal office
15
              located at 10400 Fernwood Road, Bethesda, Maryland 20817.
16
           12. According to Marriott’s website, Marriott offers “the most powerful portfolio
17
              in the industry” with “30 brands and 7,000+ properties across 131 countries
18
              and territories …”1
19
           13. Plaintiff is a natural person who resides in Los Angeles, California.
20
                                    FACTUAL ALLEGATIONS
21
           14. On April 14, 2022, at approximately 9:40 p.m. PST, Plaintiff called Le
22
              Meridien Dallas, The Stoneleigh’s (the “Hotel”) telephone number, 214-871-
23
              7111, using his cordless telephone (telephone number ending in 5517).
24
           15. Upon information and belief, Defendant owns and operates the Hotel, as well
25
              as the Hotel’s phone number, 214-871-7111.
26
27     1
        https://www.marriott.com/marriott/aboutmarriott.mi (last accessed on April 26,
28     2022).

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         16. Having dialed the Hotel’s phone number, Plaintiff was presented with several
 1
            call options.
 2
         17. After listening to the Hotel’s call options, Plaintiff pressed “1” to make
 3
            reservations at the Hotel.
 4
         18. At no point during the call to the Hotel’s phone number was there any form
 5
            of recording disclosure nor any beeping sounds to indicate to Plaintiff that he
 6
            was being recorded by Defendant.
 7
         19. Plaintiff was eventually connected with one of Defendant’s live agents to
 8
            make his hotel reservation.
 9
         20. Plaintiff told Defendant’s live agent that he wanted to know whether it was
10
            less expensive for him to reserve a room with the Hotel directly than it was to
11
            reserve a room online through a third-party website.
12
         21. In response to Plaintiff’s inquiry, Defendant’s agent indicated that Defendant
13
            had a price-match guarantee in case Plaintiff was able to find better rates for
14
            his reservation through a third-party website.
15
         22. Not wanting to risk denial of a price-match, Plaintiff asked the agent whether
16
            the call was being recorded.
17
         23. In response, Defendant’s agent attempted to evade Plaintiff’s question, which
18
            prompted Plaintiff to ask a second time whether Plaintiff was being recorded.
19
         24. In response, Defendant’s agent again evaded Plaintiff’s question, and thus
20
            Plaintiff asked a third and final time whether Plaintiff was being recorded.
21
         25. Finally, after Plaintiff’s third attempt at determining whether his call was
22
            being recorded, Defendant’s agent responded by saying, “[y]es, this call is
23
            being recorded.”
24
         26. Subsequently thereafter, the Plaintiff heard successive beeping sounds and his
25
            call with Defendant’s agent was disconnected.
26
                             CLASS ACTION ALLEGATIONS
27
         27. Plaintiff brings this lawsuit as a class action on behalf of himself and Class
28

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            Members of the proposed Class pursuant to Fed. R. Civ. P. 23(b)(2), (b)(3)
 1
            and/or (b)(4).
 2
         28. Plaintiff is a member of and seeks to represent a “Class” consisting of and
 3
            defined as follows:
 4
 5                All persons in California whose inbound and outbound
                  cordless and/or cellular telephone conversation(s) were
 6
                  audio recorded by Defendant and/or its employees and/or
 7                agent/s within one year prior to the filing of this action.
 8
         29. Excluded from the Class are: (1) Defendant, any entity or division in which
 9
            Defendant has a controlling interest, and their legal representatives, officers,
10
            directors, assigns, and successors; (2) the Judge to whom this case is assigned
11
            and the Judge’s staff; and (3) those persons who have suffered personal
12
            injuries as a result of the facts alleged herein.
13
         30. Plaintiff reserves the right to redefine the Class and to add subclasses as
14
            appropriate based on discovery and specific theories of liability.
15
         31. Numerosity: The Class members are so numerous that joinder of all members
16
            would be unfeasible and impractical. The membership of the entire Class is
17
            currently unknown to Plaintiff at this time; however, given that, on
18
            information and belief, Defendant audio recorded calls of at least a thousand
19
            Class members in California during the one-year Class period, it is reasonable
20
            to presume that the members of the Classes are so numerous that joinder of
21
            all members is impracticable. The disposition of their claims in a class action
22
            will provide substantial benefits to the parties and the Court.
23
         32. Commonality: There are common questions of law and fact as to Class
24
            members that predominate over questions affecting only individual members,
25
            including, but not limited to:
26
            • Whether, within the statutory period Defendant recorded any calls with the
27
               Class members, including cordless and cellular telephone calls;
28

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            • Whether Defendant had and continues to have a policy during the relevant
 1
               period of recording telephone calls made to the Class members;
 2
            • Whether Defendant recorded the calls prior to entering into a customer
 3
               agreement with respective Class members;
 4
            • Whether Defendant’s policy or practice of recording telephone
 5
               communications with Class members constitutes a violation of Cal. Penal
 6
               Code § 632.7;
 7
            • Whether Plaintiff and Class members were damaged thereby, and the
 8
               extent of damages for such violation; and
 9
            • Whether Defendant should be enjoined from engaging in such conduct in
10
               the future.
11
         33. Typicality: Plaintiff is qualified to, and will, fairly and adequately protect the
12
            interests of each Class member with whom they are similarly situated, and
13
            Plaintiff’s claims (or defenses, if any) are typical of all Class members as
14
            demonstrated herein.
15
         34. Plaintiff represents and is a Class member because Plaintiff called and spoke
16
            with Defendant or its agent for a time without a proper warning that the call
17
            was being recorded, and Defendant recorded its conversation with Plaintiff
18
            without a recording advisement at the outset or prior to recording the
19
            conversation.
20
         35. Plaintiff and Class members were harmed by the acts of Defendant in at least
21
            the following ways: Defendant illegally recorded the Plaintiff and Class
22
            members by way of their cordless or cellular telephones without notification
23
            that their conversation was being recorded and by invading the privacy of said
24
            Plaintiff and Class members. Plaintiff and Class members were damaged
25
            thereby.
26
         36. Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the
27
            interests of each Class member with whom they are similarly situated, as
28

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            demonstrated herein. Plaintiff acknowledges that he will have an obligation
 1
            to make known to the Court any relationship, conflicts, or differences with
 2
            any Class member. Plaintiff’s attorneys, the proposed class counsel, are
 3
            versed in the rules governing class action discovery, certification, and
 4
            settlement. In addition, the proposed class counsel is experienced in handling
 5
            claims involving consumer actions and violations of California Penal Code
 6
            section 632.7. Plaintiff has incurred, and throughout the duration of this
 7
            action, will continue to incur costs and attorneys’ fees that have been, are, and
 8
            will be, necessarily expended for the prosecution of this action for the
 9
            substantial benefit of each Class member.
10
         37. Predominance: Questions of law or fact common to the Class members
11
            predominate over any questions affecting only individual members of the
12
            class. The elements of the legal claims brought by Plaintiff and Class members
13
            are capable of proof at trial through evidence that is common to the class rather
14
            than individual to its members.
15
         38. Superiority: Plaintiff and the Class members have all suffered and will
16
            continue to suffer harm and damages as a result of Defendant’s unlawful and
17
            wrongful conduct. A class action is superior to other available methods for the
18
            fair and efficient adjudication of the controversy particularly because
19
            individual Class members have no way of discovering that Defendant
20
            recorded their telephone conversations without Class members’ knowledge or
21
            consent.
22
         39. Furthermore, absent a class action, most Class members would likely find the
23
            cost of litigating their claims prohibitively high and would therefore have no
24
            effective remedy at law.
25
         40. Class action treatment is manageable because it will permit a large number of
26
            similarly situated persons to prosecute their common claims in a single forum
27
            simultaneously, efficiently, and without the unnecessary duplication of effort
28

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            and expense that numerous individual actions would endanger.
 1
         41. Because of the relatively small size of the individual Class members claims,
 2
            it is likely that only a few Class members could afford to seek legal redress
 3
            for Defendant’s misconduct.
 4
         42. Absent a class action, Class members will continue to incur damages, and
 5
            Defendant’s misconduct will continue without remedy. Class treatment of
 6
            common questions of law and fact would also be a superior method to multiple
 7
            individual actions or piecemeal litigation in that class treatment will conserve
 8
            the resources of the courts and the litigants and will promote consistency and
 9
            efficiency of adjudication.
10
         43. The Class may also be certified because:
11
           (a) the prosecution of separate actions by individual Class members would
12
               create a risk of inconsistent or varying adjudication with respect to
13
               individual Class members, which would establish incompatible standards
14
               of conduct for Defendant;
15
           (b) the prosecution of separate actions by individual Class members would
16
               create a risk of adjudications with respect to them that would, as a practical
17
               matter, be dispositive of the interests of other Class members not parties to
18
               the adjudications, or substantially impair or impede their ability to protect
19
               their interests; and
20
           (c) Defendant has acted or refused to act on grounds generally applicable to the
21
               Class, thereby making appropriate final and injunctive relief with respect to
22
               the members of the Class as a whole.
23
         44. This suit seeks only damages and injunctive relief for recovery of economic
24
            injury on behalf of Class members and it expressly is not intended to request
25
            any recovery for personal injury and claims related thereto. Plaintiff reserves
26
            the right to expand The Class definitions to seek recovery on behalf of
27
            additional persons as warranted as facts are learned in further investigation
28

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            and discovery.
 1
         45. The joinder of Class members is impractical and the disposition of their claims
 2
            in the Class action will provide substantial benefits both to the parties and to
 3
            the court. The Class members can be identified through Defendant’s records.
 4
 5                                  COUNT I
        ILLEGAL TELEPHONE RECORDING OF CORDLESS AND CELLULAR TELEPHONE
 6
                CONVERSATIONS UNDER CALIFORNIA PENAL CODE § 632.7
 7
         46. Plaintiff repeats, re-alleges, and incorporates by reference, all other
 8
            paragraphs.
 9
         47. At all relevant times hereto, Defendant had and followed a policy and practice
10
            of using a telecommunications system that enabled them to surreptitiously
11
            record all telephone communications between Defendant and Plaintiff and
12
            California Class members, including cordless and cellular telephone calls.
13
         48. At all relevant times hereto, Defendant intentionally and surreptitiously
14
            recorded cellular telephone calls concerning confidential matters between
15
            Defendant and Plaintiff and California Class members.
16
         49. At all relevant times hereto, Defendant had and followed a policy and practice
17
            of not advising or warning Plaintiff and California Class members that their
18
            telephonic communications with Defendant would be recorded.
19
         50. Defendant failed to obtain consent of Plaintiff and California Class members
20
            prior to recording any of their telephone conversations.
21
         51. Defendant’s conduct violated section 632.7(a) of the California Penal Code.
22
         52. Plaintiff and California Class members are entitled to recovery actual and
23
            statutory damages in the amount of $5,000.00 per violation.
24
         53. Plaintiff is also entitled to attorneys’ fees and costs pursuant to, inter alia, Cal.
25
            Code of Civ. Proc. § 1021.5.
26
                                     PRAYER FOR RELIEF
27
           WHEREFORE, Plaintiff, on behalf of himself and the Class, pray that judgment
28

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     be entered against Defendant, and Plaintiff and the Class be awarded damages from
 1
     Defendant, and each of them, as follows:
 2
         • That the action regarding each violation of the Invasion of Privacy and Cal.
 3
            Penal Code Section § 632.7 be certified as a class action on behalf of the
 4
            Class and requested herein;
 5
         • That Plaintiff be appointed as representative of the Class;
 6
         • That Plaintiff’s counsel be appointed as counsel for the Class;
 7
         • An amount of $5,000 for each violation of Section 632.7 of the California
 8
            Penal Code, pursuant to Cal. Pen. Code § 637.2(a);
 9
         • Injunctive relief to prevent the further occurrence of such illegal acts alleged
10
            herein pursuant to Cal. Pen. Code § 637.2(b);
11
         • Reasonable attorneys’ fees, pursuant to, inter alia, Cal. Code Civ. Proc. §
12
            1021.5 and the common fund doctrine;
13
         • Costs of suit;
14
         • Pre- and post-judgement interest; and,
15
         • All other relief that the Court may deem just and proper including interest.
16
17                                   JURY DEMAND
18      54. Pursuant to the seventh amendment to the Constitution of the United States of
19         America, Plaintiff and Class members are entitled to, and demand, a trial by
20         jury.
21    Dated: May 6, 2022                           Respectfully submitted,
22
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